     Case: 1:22-cv-03033 Document #: 25 Filed: 07/10/22 Page 1 of 14 PageID #:2164




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ZURU (SINGAPORE) PTE., LTD,
ZURU LLC and
ZURU INC.

                      Plaintiffs,
v.                                                           Case No. 22-cv-03033

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES, PARTNERSHIPS
AND
UNINCORPORATED ASSOCIATIONS IDENTIFIED
ON SCHEDULE “A” HERETO,

                      Defendants.



      DEFENDANT’S, UMKY LTD, MOTION TO OPPOSE THE IMPOSITION OF A
     PRELIMINARY INJUNCTION, TO DISSOLVE THE TEMPORARY INJUNCTION
     AND TEMPORARY RESTRAINING ORDER AND MEMORANDUM IN SUPPORT
                                THEREOF

     Defendant #125, Umky Ltd (hereinafter referred to as “Umky Ltd ” or “Defendant”), hereby

moves for an order opposing the imposition of a preliminary injunction set to be heard on July

11th, and to dissolve the temporary injunction which is currently in effect and were previously

obtained by Plaintiffs, Zuru (Singapore) Pte., Ltd., Zuru, Llc, and Zuru, Inc. (hereinafter

collectively referred to as “ZURU” or “Plaintiffs”), on June 13, 2022 [DE 15], and extended on

June 24, 2022 [DE 20] (collectively referred to as “Injunction”), and as grounds, states as follows:

                                       I. INTRODUCTION.

     The Court entered a temporary restraining order without notice against the Defendant on

June 13, 2022. [DE 15]. UMKY LTD never received any notice of the initial injunction




                                                1
    Case: 1:22-cv-03033 Document #: 25 Filed: 07/10/22 Page 2 of 14 PageID #:2165




hearings, nor were they given any opportunity to be heard.1 The injunction is still in effect as of

today.

    Here, Defendant is a United Kingdom company, not a Chinese company, as Plaintiff asserts

in its Complaint. [DE 1, paragraph 12]. Plaintiff has painted all of the Defendants, including the

moving Defendant, as Chinese knock-off artists, and have made a rather racially biased assertion

that all Chinese UK Ebay sellers are counterfeiters and infringers worthy of being enjoined,

without notice and without an opportunity to be heard.

    This Defendant is reputable, and sells non-counterfeiting, non-infringing and authentic goods

on their store front in the United Kingdom, and they do not sell in the United States.              Thus, the

perception must be that this Defendant is law abiding, and respectful of US Intellectual Property

rights, despite the opposite claims made by Plaintiff with no basis in fact, and was done so to

convince the Court that the moving Defendant is worthy of being enjoined without the

opportunity to be heard or to present their defenses. The Defendant has been subjected to the

most draconian remedy they could suffer, in a civil case, as initially all of their assets were

frozen, and they were accused of a racial malfeasance by allegedly being a Chinese company.

         The mere fact that Defendant sells non-counterfeiting, non-infringing goods should be

more than enough for the Court to re-consider both the intention of the Defendant, and the

factors associated with Plaintiff prevailing on the merits. This Court has great discretion in

weighing the factors for an injunction.

         As a threshold matter, the Injunction must be dissolved because Plaintiff obtained it

without notice and opportunity for a hearing for the Defendants. It is well-settled that “a court

may not issue a temporary injunction without advance notice to the adverse party.” Wheeler v.

1
 UMKY LTD ’s received notice of the injunction on or about June 15, 2022 when its accounts were frozen and the
notice was from UK Ebay.




                                                      2
   Case: 1:22-cv-03033 Document #: 25 Filed: 07/10/22 Page 3 of 14 PageID #:2166




Talbot, 770 F.3d 550, 552 (7th Cir. 2014) (citing Fed. R. Civ. P. 65(a)(1)); see also Medeco Sec.

Locks, Inc. v. Swiderek, 680 F.2d 37, 38 (7th Cir. 1981) (“Rule 65 provides that no temporary

injunction shall be issued without notice to the adverse party. Notice implies the opportunity to

be heard. Hearing requires trial on the issue or issues of fact. Trial on the issue of fact

necessitates opportunity to present evidence and not by only one side of the controversy.”) While

this reason alone is sufficient to warrant a dissolution of the injunction, Plaintiff also fail on the

merits.

          In today’s world of e-commerce sales, there is truly only one place that a small business

must have a sales presence, and it is on the UK Ebay platform. UK Ebay has a monopolistic

position in this marketplace. If you do not, or cannot, sell on UK Ebay as a small business, then

you are a micro business, a hobbyist. UK Ebay sellers are subject to UK Ebay’s rules, and UK

Ebay, as a marketplace does not have a developed Intellectual Property forum to hear and decide

disputes, although UK Ebay is making efforts to develop one.

          Now, intellectual property owners are only required to file a formal complaint, and then

UK Ebay’s policy requires that once noticed, the seller must work out the complaint with the

Complainant, and if it is not able to do so, the product or seller gets de-listed. This policy favors

intellectual property owners, and UK Ebay is rife with scofflaws, counterfeiters, and infringers.

Also, the UK Ebay’s complaint system serves as an unfair competitive advantage for predatory

sellers who make invalid claims of infringement, and the complaint itself, even if invalid, serves

to stifle competition and to eliminate competitors, as UK Ebay does not validate the merit of the

infringement claim.

          This case is one where an honest, hardworking, highly rated, consumer valued company,

in existence since 2020 has a TRO entered against them, and not because their products infringe




                                                  3
     Case: 1:22-cv-03033 Document #: 25 Filed: 07/10/22 Page 4 of 14 PageID #:2167




that of Plaintiff’s trademark and/or patent, but merely because Plaintiff has filed a complaint that

it will not rescind, and it was able to obtain injunctive relief where the Defendant was not able to

represent themselves to be heard. It should also be noted that Defendant has never sold the

alleged infringing product.       See Declaration (“Decl.”) of Umar Khayam (“Khayam”), paragraph

6.

        Illegitimate IP claims require Court intervention. The alternative is to lose the business,

sometimes for good, and force so many family run businesses with limited resources to unfairly

suffer the wrath of anti-competitive behavior with no adequate remedy at law. Without casting

aspersions on Plaintiff’s motives, its claim is per se anti-competitive, because the products sold

by UMKY LTD do not infringe Plaintiff’s patented design. Thus, Plaintiff has petitioned the

Court to preliminarily enjoin Defendant in an attempt to prevent Defendant from selling their

non-infringing products 2 and to freeze their assets pending the ultimate resolution of this

proceeding.

        Plaintiff fails to show money damages are insufficient. Here, Plaintiff provides cursory

infringement contentions, but the core of their argument is purported harm that cannot be

remedied with money damages for two primary reasons.                       First, that Defendant’s allegedly

inferior products place ZURU’s brand goodwill and reputation at immediate risk. Critically

missing from Plaintiff’s motion is any showing of evidence of such imminent harm caused by

the UMKY LTD ’s products. There is no evidence that either Defendant has misbranded their

products with ZURU brand, ZURU, logo or trademark, or in fact, the opposite is true. Nor is

there any allegation that Defendant has labeled their products with Plaintiff’s trademark.




2 Currently Defendant’s storefront remains open, but for how long remains to be seen.




                                                        4
   Case: 1:22-cv-03033 Document #: 25 Filed: 07/10/22 Page 5 of 14 PageID #:2168




        Plaintiff’s next argument for harm that cannot be cured with monetary damages is the

speculation that Defendant will be unable or unwilling to satisfy any judgment simply because

they are Chinese. The law supports no such premise, nor is it true relative to this Defendant.

Defendant declares that they can pay money damages. Whether a Defendant resides in the US,

while relevant, is but one factor to be determined, and must be coupled with the likelihood of

success on the merits, so much so that the Court may determine as a matter of law that

Defendants do not infringe. Plaintiff therefore fails to establish this essential element necessary

for an injunction. In fairness, there are many US based companies that may or may not be able

to pay monetary damages, and proof of the ability to pay monetary damages as a condition to

avoiding an injunction is not a pre-requisite. Simply, whether monetary damages may satisfy

Plaintiff in the end if they prevail is the relevant inquiry, and it must be weighed as a factor

against whether injunctive relief is required to satisfy Plaintiff’s interests. It is Plaintiff’s burden

to establish why monetary damages will not suffice, and they have not done so.

        The relief granted in the injunction is too broad. Plaintiff knew, or should have known in

light of its apparently exhaustive investigation, that Defendant’s UK Ebay storefronts sold valid,

non-counterfeit, non-infringing products, not the product at issue, and said products are only

sold in the UK not the United States. Yet, Plaintiff still sought and obtained a blanket injunction

over all Defendants’ assets from sales of goods that were not subject to infringement claims, as

Defendant’s does not sell any allegedly infringing products (Decl. of Khayam ¶6).

        Here, without explanation, Plaintiff sought out “Chinese” companies for injunction but

not certain U.S. entities doing the same thing they enjoined. This further belies their claim of

irreparable harm. Of course, had they also sued additional U.S. sellers—or revealed to the Court

alleged infringing products were sold by U.S. entities in good corporate standing—Plaintiff




                                                   5
      Case: 1:22-cv-03033 Document #: 25 Filed: 07/10/22 Page 6 of 14 PageID #:2169




would have been unable to pepper their papers with numerous pejoratives about “Chinese”

companies. Defendant has already suffered substantial hardship because of the Injunction.

         In short, it appears that Plaintiff does not have, and never had, a basis for obtaining an

injunction. Rather, Plaintiff far from fearing irreparable harm, simply wanted to deal a well-

timed and forceful blow to its competitors before they were given the opportunity to defend

themselves. The Injunction should be immediately dissolved.

II.      LEGAL STANDARD.

         Injunctions are extraordinary remedies. “[A] temporary injunction is an extraordinary

and drastic remedy, one that should not be granted unless the movant, by a clear showing, carries

the burden of persuasion.” Goodman v. Illinois Dep't of Fin. & Prof'l Regulation, 430 F.3d 432,

437 (7th Cir. 2005) (quoting Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (emphasis

original)). Because an injunction is an extraordinary remedy, the court’s power to issue such

relief should be exercised sparingly. Rizzo v. Goode, 423 U.S. 362, 378 (1976).

         A plaintiff seeking preliminary injunctive relief must establish that: “(1) its case has some

likelihood of success on the merits; (2) that no adequate remedy at law exists; and (3) it will

suffer irreparable harm if the injunction is not granted.” Long v. Bd. of Educ., Dist. 128, 167 F.

Supp. 2d 988, 990 (N.D. Ill. 2001). “[B]urdens at the temporary injunction stage track the

burdens at trial.” Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418,

429 (2006). Thus, the movant “bears the burden of persuasion with regard to each factor in the

preliminary injunctive relief analysis,” and if it “fails to meet just one of the prerequisites for a

temporary injunction, the injunction must be denied.” Smith v. Foster, 2016 WL 2593957, at *3

(E.D. Wis. May 5, 2016) (quoting Cox v. City of Chicago, 868 F.2d 217, 219-23 (7th Cir.1989))

(emphasis added). In order to meet its burden, Plaintiffs must support their motion “with




                                                  6
   Case: 1:22-cv-03033 Document #: 25 Filed: 07/10/22 Page 7 of 14 PageID #:2170




evidence” to satisfy “each of the[] elements” required to obtain injunctive relief. Merritte v.

Kessell, 2015 WL 1775777, at *2 (S.D. Ill. Apr. 16, 2015); see also, e.g., Air Serv Corp. v. Serv.

Emps. Int’l Union, Local 1, 2016 WL 7034136, at *1 (N.D. Ill. Dec. 2, 2016) (noting that the

moving party “must show that it will suffer irreparable harm.”) (emphasis added). If the movant

meets these requirements, the Court must then weigh, using a sliding scale, the harm the movant

will suffer without an injunction against the harm the non-movant will suffer if an injunction is

issued. The more likely the movant is to win, the less heavily need the balance of harm

weigh in its favor; conversely, the less likely the movant is to win, the more the balance must

weigh in its favor. Judge v. Quinn, 612 F.3d 537, 546 (7th Cir. 2010). Such injunctive relief is

“never awarded as of right,” and the Court “must balance the competing claims of injury and

must consider the effect on each party.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24

(2008).

                                       III.    ARGUMENT.

          A.     Plaintiff obtained the Temporary injunction without Notice to Defendant.

          Prior to granting a temporary injunction, notice to the adverse party is required. Fed. R.

Civ. P. 65(a)(1). It is axiomatic both in the Seventh Circuit and throughout the country, that Rule

65(a)(1) of the Federal Rules of Civil Procedure requires “adverse parties receive notice before

temporary injunctions are issued.” Wheeler, 770 F.3d 550, at 552 (emphasis original); see also

Consolidation Coal Co. v. Disabled Miners of S. West Virginia, 442 F.2d 1261, 1269 (4th Cir.

1971) (“plaintiffs obtained an ex parte temporary injunction in a case in which there were

sharply disputed questions of fact and of law. This was manifestly error, because Rule 65(a)(1) is

explicit that no temporary injunction shall be issued without notice to the adverse party.”)

(internal citations omitted).




                                                  7
   Case: 1:22-cv-03033 Document #: 25 Filed: 07/10/22 Page 8 of 14 PageID #:2171




       Here, no defendant was served with advance notice of the preliminary Injunctions or

afforded an opportunity for a hearing in this matter. Plaintiff did not satisfy the notice

requirement of Rule 65(a)(1). For this reason alone, the Injunction must be dissolved.

       B.      Plaintiff Cannot Show Irreparable Harm.

       On the merits, Plaintiff failed to show the immediate irreparable harm required to justify

the “extraordinary and drastic,” remedy of a temporary injunction. Goodman, 430 F.3d at 437;

see also Abbott Labs. v. Sandoz, Inc., 2006 WL 3718025, at *1 (N.D. Ill. Dec. 15, 2006); David

White Instruments, LLC v. TLZ, Inc., 2002 WL 31741235, at *2 (N.D. Ill. Dec. 4, 2002).

               1.     Plaintiff Has an Adequate Remedy at Law.

       The Court should dissolve the Injunction because Plaintiff failed to demonstrate that they

do not have adequate remedy at law. Conclusory or speculative contentions are insufficient to

demonstrate irreparable harm. See, e.g., E. St. Louis Laborers’ Local 100 v. Bellon Wrecking &

Salvage Co., 414 F.3d 700, 704-06 (7th Cir. 2005) (stating that “speculative injuries do not

justify” granting injunctive relief, and that a moving party “cannot obtain a temporary injunction

by speculating about hypothetical future injuries”). Rather, Plaintiff’s “evidence must

demonstrate that [it] ha[s] carried [its] burden ‘that irreparable injury is likely’ — not just

possible — ‘in the absence of an injunction.’” Mich. v. U.S. Army Corps of Eng’rs, No. 10-CV-

4457, 2010 WL 5018559 at *24 (N.D. Ill. Dec. 2, 2010). Here, Plaintiff conclusively claimed a

loss of sales and market share, but proffered no evidence of specific instances of lost sales that

are attributable to the Moving Defendant.

       But even assuming Plaintiff could prove that they were losing sales due to the Moving

Defendant’s conduct, the law is well-established that if “losses are purely financial, easily

measured, and readily compensated[,] [t]here is . . . no showing of irreparable harm, and on this




                                                8
   Case: 1:22-cv-03033 Document #: 25 Filed: 07/10/22 Page 9 of 14 PageID #:2172




ground alone the temporary injunction should [be] denied.” Praefke Auto Elec. & Battery Co.,

Inc. v. Tecumseh Prods. Co., Inc., 255 F.3d 460, 463 (7th Cir. 2001) (internal citations omitted)

(holding that movant’s alleged harm sounded in lost profits, which “ha[d] not fallen to a point

that threatens [the movant’s] solvency,” and thus did not constitute irreparable harm). The

percentage of UK Ebay sales revenue that Defendant derives from sales of the accused product is

nothing as they do not sell the infringing item.      (Decl. ¶6). Thus, if this Court dissolves the

Injunction, and it is later determined that Defendant were not permitted to sell the alleged

infringing products, Plaintiff can still be made whole by recovering any economic loss. Micro

Data Base Sys., Inc. v. Nellcor Puritan Bennett, Inc., 165 F.3d 1154, 1157 (7th Cir. 1999) (no

irreparable harm if “only money is at issue.”)

       Further, Plaintiff attacks against Chinese companies, and, in commingling a host of

defendants without distinction, attempts to generalize the conduct of some defendants to all

Defendants. It is axiomatic that attempts to plead “guilt by association is impermissible.” In re

Banco Bradesco S.A. Sec. Litig., 277 F. Supp. 3d 600, 664 (S.D.N.Y. 2017); United States v.

Jones, 713 F.3d 336, 350 (7th Cir. 2013) (courts cannot “endorse the impermissible inferences of

guilt by association or mere presence.”); McGhee v. Joutras, 1996 WL 706919, at *5 (N.D. Ill.

Dec. 5, 1996) (rejecting “impermissible guilt-by-association premise that fuels each of [a party’s]

arguments.”).   On these facts particularly, Defendant is selling non-counterfeit, non-infringing

items only in the United Kingdom, thus, such representations as to Defendant’s conduct and

motives is simply unsubstantiated and inapplicable.

       In alleging damage to the goodwill and reputation of the ZURU brand Plaintiff simply

asserted, without identifying the particular defendant that “Defendants” sales are deceiving

unknowing consumers and going to great lengths to “conceal both their identities and full scope




                                                 9
  Case: 1:22-cv-03033 Document #: 25 Filed: 07/10/22 Page 10 of 14 PageID #:2173




and interworking of their illegal operation.     Complaint, DE 1.        This is simply not true.

Defendant’s store front has been in existence since 2017 and has an impeccable rating.

       While harm to goodwill can be an irreparable injury in certain circumstances, the “cases

where courts have found irreparable harm from a loss of goodwill or business relationships have

involved situations where the dispute between the parties leaves one party unable to provide its

product to its customers.” Kreg Therapeutics, Inc. v. VitalGo, Inc., 2011 WL 5325545, at *6

(N.D. Ill. Nov. 3, 2011). In this case, Plaintiffs have not alleged—nor can they—that they will be

unable to provide ZURU products to customers because of Defendant’s conduct. Indeed, far

from harming ZURU, Defendant’s legitimate competition is no basis for the “drastic” imposition

of an Injunction.

       Third, Plaintiffs’ assertion that “Defendants” are unlikely to be able to satisfy a judgment

is pure, unsupported speculation. “In saying that the plaintiff must show that an award of

damages at the end of trial will be inadequate, we do not mean wholly ineffectual; we mean

seriously deficient as a remedy for the harm suffered.” Roland Mach. Co. v. Dresser Indus., Inc.,

749 F.2d 380, 386 (7th Cir. 1984). In Khayam’s Declaration, he states that they have never sold

any of the allegedly infringing products. Decl. 6. To be subject to a potential damages award

does not break Defendant, and there is no evidence to support an inability to make good on a

remedy at law.      Given that patent damages generally do not exceed a defendant’s profits,

Defendant has more than enough resources to satisfy any potential money judgment in this case

since it never sold any items, Defendant would have no exposure (Decl. ¶6). Plaintiff argued

that because Defendants are foreign entities whose true identities remain unknown, any monetary

judgement may be difficult, if not impossible, to collect. With respect to Defendant, they have

not run, and they have availed themselves to the American Courts.




                                               10
  Case: 1:22-cv-03033 Document #: 25 Filed: 07/10/22 Page 11 of 14 PageID #:2174




       Plaintiff also speculated in seeking and extending the TRO that Defendants would evade

the legal process and continue to sell infringing knock-offs through UK Ebay under a different

alias, as well as move any assets from their financial accounts to off-shore bank accounts.

Respectfully, it takes time to build an UK Ebay storefront that can generate the kind of

consistently good reviews and sales in the range of the Defendants’ stores, and they do not intend

and cannot afford to just cut loose and run. Finally, the same substantial revenues generated from

in the U.S. market means that the Defendant cannot afford to flout a U.S. federal court’s

judgment at a cost of giving up this entire market. There is no justification for finding that

Plaintiffs would be unable to collect on a monetary judgment in this case.

       In sum, Plaintiffs’ failure to show irreparable harm and inadequacy of remedy at law

obviates any need for the Court to reach the remaining factors for considering injunctive relief.

See Smith, 2016 Abbott Labs., WL 2593957, at *3; 2006 WL 3718025, at *2; David White

Instruments, 2002 WL 31741235, at *2.

                     The Balance of Harms Tilts Sharply in Defendants’ Favor.

       The balance of harms weighs stronger in favor of Moving Defendant. Plaintiff cannot

dispute that Defendant sells substantial amounts of products that are not being accused in this

action. The injunction that the Defendant seeks to dissolve has entirely frozen their respective

UK Ebay accounts, precluding the receipt of any frozen sales revenue—including revenue that is

not associated with their sales of the accused Products —and, in turn, hindering the payment of

creditors with such expected, earned revenue. There is no basis for Moving Defendant’s

proceeds from non-accused products to be frozen. And, there is no indication that UK Ebay can

partially unfreeze the Moving Defendant’s assets—let alone do so quickly.




                                               11
  Case: 1:22-cv-03033 Document #: 25 Filed: 07/10/22 Page 12 of 14 PageID #:2175




       Plaintiff has unfairly and unreasonably blind-sided the Defendant by crippling their UK

Ebay-dependent financial operations without due process. It is anti-competitive. Thus, Plaintiff

cannot “me[e]t their burden of showing that the harm [it] will suffer if the injunction is denied is

substantially greater than the harm [the Defendants] would suffer if the injunction were granted.”

Kastanis v. Eggstacy LLC, 752 F. Supp. 2d 842, 858-59 (N.D. Ill. 2010). Indeed, in obtaining the

temporary injunction, it does not appear that the substantial harm to the Defendant was even

considered.

       As set forth above, it takes time to build up an UK Ebay storefront, and every day

Defendant’s assets are frozen is one more day that they drop in UK Ebay search rankings. Far

from selling “knock-offs” and “low quality” products, Defendant sells high quality products and

has been selling for years. Defendant is not selling ZURU’s products or otherwise deceiving the

consuming public. The injunction is doing harm to Defendant’s goodwill, not the other way

around.

       C.      If This Court Deems It Necessary to Maintain the Temporary injunction,
               Plaintiff Should Be Required to Post a Bond.
       A bond is a pre-condition to temporary injunction relief for the payment of “costs and

damages sustained by any party found to have been wrongfully enjoined or restrained.” Fed. R.

Civ. P. 65(c); see also Mead Johnson & Co. v. Abbott Labs., 209 F.3d 1032, 1033 (7th Cir.

2000). Because “[a] party injured by an erroneous temporary injunction is entitled to be made

whole,” the bond must be high enough to cover any losses the defendant incurs in the event the

temporary injunction was erroneously entered. See Roche Diagnostics Corp. v. Med. Automation

Sys., Inc., 646 F.3d 424, 428 (7th Cir. 2011) (“Judges [ ] should take care that the bond is set

high enough to cover the losses that their handiwork could cause. A limit of zero—the upshot of

an injunction without a bond—is bound to be low.”). Accordingly, the bond amount must



                                                12
  Case: 1:22-cv-03033 Document #: 25 Filed: 07/10/22 Page 13 of 14 PageID #:2176




adequately cover the potential harm to the enjoined party. Fed. R. Civ. P. 65(c). Setting a bond

amount is not an exact science, however, “[c]ourts generally err on the high side when setting

bond because setting bond too high is not a serious error and ‘damages for an erroneous

temporary injunction cannot exceed the amount of the bond.’” Stuller, Inc. v. Steak N Shake

Enters., Inc., 2011 WL 2473330, at *13 (C.D. Ill. June 22, 2011).

          In the present case, there is zero basis to maintain a freeze over proceeds from the non-

infringing products. As to the products alleged to be infringing, they should also be unfrozen

because Defendant can pay money damages. However, should the Court desire to maintain an

injunction, then a bond is necessary to “cover the possible damages and costs” to Defendants.

Fed.R.Civ.P. 65(c). The bond of $5,000 should be increased to at least $50,000.00.

                          The Court May Make Infringement Determinations.

          The Court can simply compare the designs, and determine that there is simply no

infringement as a matter of law. Such a determination renders the other factors as moot. A

district court can issue ‘tentative’ or ‘rolling’ claim constructions in a temporary injunction

proceeding. Oakley, Inc. v. Sunglass Hut Int’l, 316 F.3d 1331, 1345 n.3 (Fed. Cir. 2003).

          If the Court determines that there is simply no infringement as a matter of law, after

reviewing the claims and applying them to the allegedly infringing device, then to force

Defendant to suffer business losses, closing of the business, lost profits, and lost goodwill, is

unjust.    In a closer case, the outcome should require further analysis.       In this case, non-

infringement is clear on its face.

D. The Interests of The Public Weigh in Favor of Plaintiff.

          The interest in the public being able to fairly purchase competing products, through

choice and novel design, should be supported.         Defendant is a highly ranked seller.     The




                                                 13
  Case: 1:22-cv-03033 Document #: 25 Filed: 07/10/22 Page 14 of 14 PageID #:2177




consuming public scours UK Ebay listings looking for quality products and fair prices. When

doing so, they find Defendant’s products. This threatens Plaintiff. However, it is the public

interest that is tantamount to Plaintiff. Fair play and competition weigh in favor of the public

interest.

IV.     CONCLUSION.

        As this Court has observed, “ex parte temporary restraining orders are vulnerable to

abuse,” and thus, “the safeguards embodied in Federal Rule of Civil Procedure 65(b) must be

scrupulously honored.” PaineWebber Inc. v. Can Am Fin. Grp., Ltd., 1987 WL 16012, at *1

(N.D. Ill. Aug. 19, 1987) (citing 11 WRIGHT & MILLER, FED. PRAC. & PROC. § 2952

(1973)). Here, that was not done. Defendant respectfully requests that this Court dissolve the

temporary injunction, oppose the permanent injunction against this Defendant, and grant

Defendant such other and further relief as this Court deems appropriate, including an Order to

UK Ebay to release Defendant’s funds. Lastly, Plaintiff should be required to post a bond.

Dated: April 13, 2022.                              Respectfully Submitted,
                                                    /s/Cory Rosenbaum
                                                    Rosenbaum, Famularo & Segal, P.C.
                                                    138A East Park Avenue
                                                    Long Beach, New York 11561
                                                    212.321.5080
                                                    cjr@UK Ebaysellerslawyer.com


                                   CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that a true and correct copy of the foregoing was filed this

10th day of July, 2022, and served via ECF on Attorney David Hutchinson at

DHutchinson@Thoits.com

                                                                   By: Cory Rosenbaum




                                              14
